AO 440(Rev. 6/12) Summons in a Civil Action (Page 2)
           Case 3:19-cv-01662-BEN-JLB Document 6 Filed 09/10/19 PageID.28 Page 1 of 1
Civil Action No. 19CV01662-LAB-KSC


                                                               PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)
        This summons for (name of individual and title, if any)                   XAVIER BECERRA, IN HIS OFFICIAL CAPACITY AS
                                                                                  THE ATTORNEY GENERAL OF THE STATE OF
                                                                                  CALIFORNIA
            was received by me on September 09, 2019
            I PERSONALLY SERVED THE SUMMONS IN A CIVIL CASE; COMPLAINT; CIVIL COVER SHEET;
            DECLARATION OF TAN MIGUEL TOLENTINO; DECLARATION OF RUSSELL FOUTS; NOTICE OF
            RELATED CASE; PRO HAC VICE APPLICATION on the individual at 1300 I St , Sacramento, CA
            95814-2919 on September 09, 2019 11:49 AM

            I left the SUMMONS IN A CIVIL CASE; COMPLAINT; CIVIL COVER SHEET; DECLARATION OF TAN
            MIGUEL TOLENTINO; DECLARATION OF RUSSELL FOUTS; NOTICE OF RELATED CASE; PRO HAC
            VICE APPLICATION at the individual's residence or usual place of abode with ,a person of suitable age and
            discretion who resides there, on , and mailed a copy to the individual's last known address; or


            I served the SUMMONS IN A CIVIL CASE; COMPLAINT; CIVIL COVER SHEET; DECLARATION OF
            TAN MIGUEL TOLENTINO; DECLARATION OF RUSSELL FOUTS; NOTICE OF RELATED CASE; PRO
            HAC VICE APPLICATION to B. SILKWOOD, DOJ OFFICER, who is designated by law to accept service of
            process on behalf of XAVIER BECERRA, IN HIS OFFICIAL CAPACITY AS THE ATTORNEY GENERAL OF
            THE STATE OF CALIFORNIA on September 09, 2019 11:49 AM

            I returned the SUMMONS IN A CIVIL CASE; COMPLAINT; CIVIL COVER SHEET; DECLARATION OF
            TAN MIGUEL TOLENTINO; DECLARATION OF RUSSELL FOUTS; NOTICE OF RELATED CASE; PRO
            HAC VICE APPLICATION unexecuted because;

            other   (specify):


        My fees are $ .00 for travel and $ 45.00 for services, for a total of $ 45.00


        I declare under penalty of perjury that this information is true.




Date: September 10, 2019
                                                                                                       Server's signature




                                                                                                 KATRINA WILLIAMS
                                                                                                   Printed name and title


                                                                                            AFFORDABLE LEGAL SERVICES
                                                                                               563 Brunswick Road Suite 7
                                                                                                 Grass Valley, CA 95945
                                                                                                     (530) 272-5463
                                                                                                       Server's Address




                                                                                                                            A0440-ALS144926
